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6
7
                                   UNITED STATES DISTRICT COURT
8                                NORTHERN DISTRICT OF CALIFORNIA
9
10   LaTasha Turner,                                   Case No. 3:22-cv-04918-SK
11
                    Plaintiff,                         NOTICE OF VOLUNTARY DISMISSAL
12           v.                                        OF ENTIRE CASE WITH PREJUDICE
13   Lyft, Inc.,
14
                    Defendant.
15
16           Plaintiff LaTasha Turner voluntarily dismisses this entire action of all parties and causes of

17   action with prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i).

18           Respectfully submitted,

19           Dated: October 24, 2022                             Law Office of Rick Morin, PC

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21                                                               _________________________
                                                                 By: Richard Morin
22                                                               Attorney for Plaintiff
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                                       NOTICE OF VOLUNTARY DISMISSAL
